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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

 UNITED STATES OF AMERICA,                             rr\DrcrMENr tre ao -aS1             &f lure
                       Plaintiff,                      l8U.S.c. $ ll3(aX6)
                                                       l8 u.s.c. $ l15r
        v.                                             18 U.S.c. $ l1s3(a)
                                                       l8 u.s.c. $ 35se(0(3)
 EDWARD DUANIE FAIRBANIKS,

                       Defendant.

       THE UNITED STATES GRA}{D JURY CHARGES THAT:

                                         COUNT     I
                        (Assault Resulting in Serious Bodily Injury)

       On or about June 8, 2020, in the State and District of Minnesota, and within the

exterior boundaries of the White Eafih Indian Reservation, the defendant,

                            EDWARD DUANE FAIRBAI\KS,

an Indian, did assault a minor child, an'individual who had not attained the age of l8 years,

resulting in serious bodily injury, all in violation of Title 18, United States Code, Sections

113(a)(6), 1151, I153(a), and 3559(0(3).

                                       A TRUE BILL




UNITED STATES ATTORNEY                            FOREPERSON




                                                                               SCANNED
                                                                               N(Iv   06 20td1$
